     3:11-cv-03406-RM-TSH # 71    Page 1 of 51
                                                                                  E-FILED
                                                 Thursday, 01 December, 2016 10:27:06 AM
                                                              Clerk, U.S. District Court, ILCD

            IN THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                )
and THE STATES OF CALIFORNIA,            )
COLORADO, DELAWARE,                      )
HAWAII, ILLINOIS, MONTANA,               )
NEVADA, NEW JERSEY, NEW                  )
MEXICO, VIRGINIA, and the                )
DISTRICT OF COLUMBIA, ex rel.            )
THOMAS PROCTOR,                          )
                                         )
     Plaintiffs and Relator,             )            NO. 11-3406
                                         )
     v.                                  )
                                         )
SAFEWAY, INC.,                           )
                                         )
     Defendant.                          )

                                 OPINION

RICHARD MILLS, U.S. District Judge:

     This is a qui tam action.

     The Relator alleges that Defendant Safeway, Inc. and all pharmacies

under its operation and control knowingly perpetrated a false “usual and

customary” pricing fraud scheme against government health programs as

company policy to increase profits.

     The Plaintiffs and Relator assert violations of the Federal False Claims
      3:11-cv-03406-RM-TSH # 71   Page 2 of 51




Act (“FCA”), 31 U.S.C. §§ 3729 et seq., and related acts under the

applicable state laws.

     Pending is Safeway’s Motion to Dismiss.

                           I. BACKGROUND

     This is an action for damages and civil penalties on behalf of the

United States of America and the Plaintiff States by the Relator against

Defendant Safeway, Inc., arising from Safeway’s alleged fraudulent pricing

scheme perpetrated in its pharmacies nationwide against government health

programs.

     According to the Complaint, Relator Thomas Proctor is a resident of

the State of Texas. The Relator holds a BS in Pharmacy and Masters in

Healthcare Administration and is a licensed pharmacist in the States of

Texas, Oklahoma, Arkansas, Louisiana, Kentucky, Virginia, Arizona and

Nebraska. The Relator has knowledge of, and experience in, the retail

pharmacy industry through his many years of working as a pharmacist.

     Safeway is one of the largest food and drug retailers in the United

States. At the time of the events in this case, Safeway operated under the


                                     2
     3:11-cv-03406-RM-TSH # 71    Page 3 of 51




trade name Safeway or through various Safeway-affiliated store banners

across the United States including but not limited to: Vons, Pavilions,

Dominick’s, Genuardi’s, Randalls, Tom Thumb, Pak’n’Save Foods and

Carrs Quality Centers. In Illinois, for example, Safeway operated under the

Dominick’s banner. The Relator alleges that the policies, practices and

procedures for all of the pharmacies are centrally managed and controlled

by the national administration and upper corporate management.

     Most of the Defendant’s stores include a pharmacy department. At

the end of 2013, the Defendant operated 1041 pharmacies across 20 states

and the District of Columbia. The Relator was employed as a pharmacist

at Safeway’s Tom Thumb #3625 in Grapevine, Texas between June and

October of 2011.

     The Relator alleges Safeway violated the FCA and caused its

subsidiaries to violate the FCA by routinely charging government health

programs more than the general public for the same drugs. The scheme was

conceived and directed by Safeway to fraudulently report inflated prices for

prescription drugs sold to government health plan beneficiaries. Safeway


                                     3
      3:11-cv-03406-RM-TSH # 71   Page 4 of 51




knowingly failed to report its actual low drug prices in order to obtain

higher reimbursements from government health programs than Safeway was

legally and contractually entitled to receive.

     The Relator alleges that Safeway’s fraud scheme was carried out

nationwide at its affiliated pharmacies which are located in multiple states

and jurisdictions, several of which are Plaintiffs in this case. The scheme

began in or around 2007 and continues to the present. The Relator asserts

Safeway administered the scheme in a uniform and consistent manner

across the country through centralized policies and pharmaceutical pricing,

using interconnected pharmacy and claims-processing computer systems

shared by its subsidiaries.

     The Relator further contends that through this usual and customary

pricing fraud scheme, Safeway submitted false claims and caused its

subsidiaries and third parties to submit false claims in violation of the

Federal False Claims Act, 31 U.S.C. § 3729 et seq., as amended (Count I).

Moreover, Safeway’s conduct violated the analogous false claims acts and

health care fraud remedial statutes of the ten Plaintiff States and the


                                      4
      3:11-cv-03406-RM-TSH # 71    Page 5 of 51




District of Columbia (Counts II - XII). Like the FCA, the state statutes

impose liability for defined conduct in the nature of fraud, for the

submission of false claims, the use of false records and documents and the

failure to disclose material information in presenting claims to each

respective sovereign’s Medicaid programs.

      The Relator asserts that Safeway has knowingly submitted or caused

to be submitted fraudulent, inflated pricing information on tens of

thousands of prescription drug reimbursement claims to government health

plans, including Medicare, Medicaid, TRICARE, the Federal Employees

Health Care Benefits Program (“FEHBP”) and other federal health care

programs for the purpose of unlawfully obtaining reimbursement payments

higher than those authorized by law.

      The Relator alleges venue is appropriate in this district pursuant to 31

U.S.C. § 3732(a) because the Defendant committed acts proscribed by 31

U.S.C. § 3729 in this judicial district. The material events pled here

include Safeway causing the submission of false Illinois Medicaid claims,

which are processed in this judicial district in Springfield, Illinois.


                                       5
     3:11-cv-03406-RM-TSH # 71    Page 6 of 51




     The amended complaint states that the Relator believes there has

been no prior public disclosure of the allegations and transactions on which

the action is based. If the Court determined otherwise and the question

arises, however, the Relator is an original source of the information on

which the allegations and transactions in the Complaint are based, pursuant

to 31 U.S.C. § 3730(e)(4)(B).

     The federal and state government health programs at issue, including

Medicare, Medicaid, TRICARE and the FEHBP, among others, offer

pharmaceutical benefits to their respective beneficiaries. These programs

do not buy drugs. Instead, they reimburse providers who dispense covered

drugs to program beneficiaries.

     The Relator alleges the reimbursement methodologies for different

government health programs are functionally equivalent. The amended

complaint generically refers to the usual and customary fraud scheme,

which encompasses pricing fraud affecting Medicaid, TRICARE, FEHBP

and Medicare. The Relator asserts truthful determination and reporting of

the usual and customary or negotiated price by the pharmacy provider is a


                                     6
      3:11-cv-03406-RM-TSH # 71   Page 7 of 51




material component of the government health program’s payment

calculation. When a dispensing pharmacy knowingly charges above the

usual and customary or negotiated price to government health plan

beneficiaries, the reported pricing information is fraudulent since the lower

usual and customary or negotiated prices were not provided to the

government health plans. That is the gravamen of the Relator’s amended

complaint.

     The Defendant contends the amended complaint suffers from a

number of deficiencies and, therefore, must be dismissed.

                             II. DISCUSSION

     After a lengthy investigation, the federal government declined to

intervene in this case. When the United States declines to intervene in a

qui tam FCA suit, the relator may pursue the case on his own, though the

action is still technically on behalf of the United States. See Thulin v.

Shopko Stores Operating Co., 771 F.3d 994, 998 (7th Cir. 2014) (citing 31

U.S.C. § 3730(c)(3)).

     The United States also advised that the States of Maryland and


                                     7
     3:11-cv-03406-RM-TSH # 71     Page 8 of 51




Colorado decline to intervene. Accordingly, all claims asserted on behalf of

Maryland and Colorado have been dismissed with prejudice.

     A. Venue

     Safeway first contends the amended complaint must be dismissed

because venue is improper in this district and service of process is flawed.

The applicable statute provides:

           Any action under section 3730 may be brought in any
     judicial district in which the defendant or, in the case of
     multiple defendants, any one defendant can be found, resides,
     transacts business, or in which any act proscribed by section
     3729 occurred. A summons as required by the Federal Rules of
     Civil Procedure shall be issued by the appropriate district court
     and served at any place within or outside the United States.

31 U.S.C. § 3732(a). Safeway does not transact business in this judicial

district and has never done so. Neither Safeway nor any of its subsidiaries

has ever operated a Safeway store in this judicial district.      Although

Safeway once operated 72 Dominick’s stores under its banner, all of those

stores were located in the Northern District of Illinois. Because Safeway is

not found and does not reside or transact business in the Central District

of Illinois, venue would be improper under the first part of § 3732(a).


                                      8
      3:11-cv-03406-RM-TSH # 71   Page 9 of 51




     The question thus is whether this judicial district is one “in which any

act proscribed by section 3729 occurred.” The Relator alleges Safeway’s

scheme to defraud government health programs was carried out at 72

Dominick’s stores in Illinois.      The Relator also asserts Dominick’s

pharmacies submitted Illinois Medicaid claims.        Paragraph 33 of the

amended complaint provides that false claims for payment submitted by the

Dominick’s stores to Illinois Medicaid are sent to and processed in

Springfield, Illinois. An individual who “knowingly presents, or causes to

be presented, a false or fraudulent claim for payment” is liable under the

FCA. 31 U.S.C. § 3729(a)(1)(A).

     Given the allegations in the amended complaint, the Relator has

sufficiently asserted that Safeway violated the FCA by causing false claims

to be submitted in this district. Based on the plain language of § 3729, that

is enough under the venue provision. This Court recently held that the

Central District of Illinois was an appropriate forum for FCA actions under

similar circumstances. See U.S. ex rel. Dismissed Relator v. Wilder, No. 11-

cv-3286, 2012 WL 2503098, at *2 (C.D. Ill. June 28, 2012) (noting that


                                     9
     3:11-cv-03406-RM-TSH # 71      Page 10 of 51




the material events included the processing of allegedly false Medicaid

claims in Springfield, Illinois, thus making the Central District a more

convenient (and necessarily proper) forum.).          Safeway has cited no

controlling authority which holds that causing the submission of false

claims in this district is insufficient to establish venue.

      Accordingly, the Court will deny the motion to dismiss for improper

venue.   Because the motion to dismiss for insufficient summons and

insufficient service of process is based on the alleged lack of venue, the

motion will be denied to that extent as well.

      B. Failure to state a claim

                             (1) Legal standard

      In reviewing a motion to dismiss, the Court generally accepts the

truth of the factual allegations of the complaint. Vinson v. Vermilion

County, Illinois, 776 F.3d 924, 925 (7th Cir. 2015). In order to avoid

dismissal under Rule 12(b)(6), “the complaint must state a claim that is

plausible on its face.” Id. at 928.

      Because the FCA is an anti-fraud statute, however, the “claims under


                                      10
     3:11-cv-03406-RM-TSH # 71   Page 11 of 51




it are subject to the heightened pleading requirements of Rule 9(b).”

United States ex rel. v. AIDS Research Alliance-Chicago, 415 F.3d 601, 604

(7th Cir. 2005). Therefore, “a party must state with particularity the

circumstances constituting fraud.” Fed. R. Civ. P. 9(b). “The requirement

of pleading fraud with particularity includes pleading facts that make the

allegation of fraud plausible.” U.S. ex rel. Grenadyor v. Ukranian Village

Pharmacy, Inc., 772 F.3d 1102, 1106 (7th Cir. 2014). “The complaint

must state the identity of the person making the misrepresentation, the

time, place and content of the misrepresentation, and the method by which

the misrepresentation was communicated to the plaintiff.” Id. (internal

quotation marks and citations omitted).

                (2) HIPAA disclosure and alleged violation

     The Defendant claims that Count I is fundamentally flawed.

Paragraphs 186 to 188 of the amended complaint provide descriptions of

18 claims for drugs dispensed in Colorado. Safeway alleges these are the

only relevant transaction-level details provided in support of Count I.

Safeway asserts these transactions which rely on personal health


                                   11
     3:11-cv-03406-RM-TSH # 71    Page 12 of 51




information were obtained and disclosed in violation of the Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”) and

cannot be used for that reason. Safeway moves to strike under Federal Rule

of Civil Procedure 12(f) on that basis.

     The Relator claims he is protected by the HIPAA Whistleblower

exception, which provides in part:

     (1) Disclosures by whistleblowers. A covered entity is not
     considered to have violated the requirements of this subpart if
     a member of its workforce or a business associate discloses
     protected health information, provided that:

     (i) The workforce member or business associate believes in good
     faith that the covered entity has engaged in conduct that is
     unlawful or otherwise violates professional or clinical standards,
     or that the care, services, or conditions provided by the covered
     entity potentially endangers one or more patients, workers, or
     the public; and

     (ii) The disclosure is to:

     ...

     (B) An attorney retained by or on behalf of the workforce
     member or business associate for the purpose of determining the
     legal options of the workforce member or business associate
     with regard to the conduct described in paragraph (j)(1)(I) of
     this section.


                                     12
     3:11-cv-03406-RM-TSH # 71    Page 13 of 51




45 C.F.R. § 164.502(j).

      Federal regulations define “[p]rotected health information” as

“individually identifiable health information . . . [m]aintained in electronic

media; or . . . [t]ransmitted or maintained in any other form or medium.”

45 C.F.R § 160.103. In order to qualify as individually identifiable health

information, the information either “identifies the individual” or provides

enough details so “there is a reasonable basis to believe the information can

be used to identify the individual.” 42 U.S.C. § 1320d; 45 C.F.R. §

160.103.

      The Court has reviewed the allegations in paragraphs 186 through

188 of the amended complaint.          None of those paragraphs contain

information which identifies the individual. The Claims Data utilizes alias

initials to identify the individual, such as AA, MM, etc. The applicable

regulation permits a covered entity to utilize a coding system unrelated to

the identity of the patient so long as the code is not capable of being

translated in order to identify the individual. See 45 C.F.R. § 164.514(c).

      Although several of the Claims Data examples relate to the same


                                     13
     3:11-cv-03406-RM-TSH # 71    Page 14 of 51




patient, the identities of the patients are not disclosed by the use of alias

initials. The fact that the Claims Data identifies the dates the prescriptions

were filled and/or billed, the store where they purchased, the drug

purchased, as well as the alias initials does not provide any information that

could be utilized to identify the individuals. “Health information that does

not identify an individual and with respect to which there is no reasonable

basis to believe that the information can be used to identify an individual

is not individually identifiable health information.”          45 C.F.R. §

164.514(a).

      Because the information in the amended complaint does not qualify

as individually identifiable health information or protected health

information, there is no HIPAA violation even if the Relator qualified as a

“covered entity” subject to its terms. Under the HIPAA whistleblower

exception, see 45 C.F.R. § 164.502(j)(1), the Relator was authorized to

disclose protected health information to his attorneys. The motion to

dismiss or strike on this basis is denied.




                                     14
     3:11-cv-03406-RM-TSH # 71   Page 15 of 51




                    (3) Allegations of FCA violations

     In the amended complaint, the Relator alleges that Safeway submitted

fraudulent, inflated pricing information to four government health

programs–Medicare, Medicaid, TRICARE and FEHBP–in connection with

the prescription drug claims, thus violating the FCA and the false claims

statutes of California, Delaware, District of Columbia, Hawaii, Illinois,

Montana, New Jersey, New Mexico, Nevada and Virginia.

     The    Medicare,    TRICARE      and   FEHBP     programs    cap   the

reimbursement payable to pharmacy providers at the providers’ usual and

customary prices. Third-party payers such as private insurance companies

are generally excluded from usual and customary calculations, making the

usual and customary price equal to the amount cash customers pay for the

drug. Instead of usual and customary prices, Medicare regulations require

Part D beneficiaries to be offered “Negotiated Prices” “reduced by those

discounts” or “other price concessions” available at the “point of sale.”

     The Relator alleges that government health program prescription drug

reimbursement rules for Medicaid, TRICARE and FEHBP prohibit


                                    15
     3:11-cv-03406-RM-TSH # 71    Page 16 of 51




pharmacy providers, such as Safeway, from being reimbursed for drugs at

amounts greater than what the provider otherwise charges members of the

general public, known as their usual and customary price. “Negotiated

Prices” impose a similar ceiling on Medicare reimbursements. The purpose

of these price regulations is to ensure that government health programs do

not pay more for prescribed drugs than what the government health

program beneficiary would have paid the beneficiary not covered by a

government health program.

      The amended complaint states that government health programs

reimburse providers such as Safeway for prescriptions dispensed to program

beneficiaries at the lesser of: (1) the pharmacy provider’s usual and

customary price; or (2) negotiated price; or (3) one or more alternative price

types.    As for government health programs with reimbursement

methodologies that provide for the payment of the lesser of usual and

customary price or an alternative price type, the government health

program compares the provider’s submitted usual and customary price with

no dispensing fee against the alternative price types–each alternative price


                                     16
     3:11-cv-03406-RM-TSH # 71     Page 17 of 51




type consisting of both the ingredient cost and dispensing fee–and

reimburses the provider the lesser of the provider’s usual and customary

price or alternative price type.

      In its motion to dismiss, Safeway cites the amended complaint in

noting that the Relator’s “central allegation is that Safeway was legally

required to pass along the benefit of certain discount prescription programs

in its reimbursement claims to [government health programs] but failed to

do so.” Doc. No. 54, at 3. Safeway points to paragraph 192 of the

amended complaint, which provides that it “has knowingly engaged, and

continues to engage, in the fraudulent pattern and practice of submitting

and causing to be submitted false claims for reimbursement to Federal

Health Care Programs and State Medicaid Programs with inflated [Usual

and Customary] and Negotiated Prices that deny the United States the

discounted [Usual and Customary] and Negotiated Prices offered by

Defendant to the general public.” In citing these portions of the amended

complaint, Safeway essentially acknowledges that the Relator has provided

fair notice based on the current state of the law.


                                     17
     3:11-cv-03406-RM-TSH # 71   Page 18 of 51




     The Relator alleges that beginning in or about 2007, Safeway, through

its pharmacies, knowingly perpetrated a multi-faceted false usual and

customary pricing fraud scheme against government health programs as

corporate company policy.     In order to stay competitive and attract

customers, Safeway created and publicly promoted a series of prescription

drug discount programs. These programs were rolled out nationwide and

across all Safeway banners and offered deep discounts on prescription

drugs.

     Beginning in or about 2007, Safeway offered a discount drug

formulary of approximately 300 drugs sold at $4 for a 30 days’ supply, $8

for a 60 days’ supply and $12 for a 90 days’ supply. Safeway also offered

to match prices for drugs on Wal-Mart’s or other competitors’ discount

lists. In addition, Safeway created a “membership club” that was free to

join that offered across the board percentage discounts of 10% of all

branded medications and 20% of all non-formulary generics. Because of

Safeway’s actions, virtually all drugs sold by Safeway were offered at

everyday deep discount prices nationwide and across all of Safeway’s


                                   18
     3:11-cv-03406-RM-TSH # 71    Page 19 of 51




brands.

      Safeway’s corporate promotional materials explicitly stated that the

offered “Discounts and Incentives are not available to patients whose

prescriptions are paid in whole or part by Medicare, Medicaid or other

federal health care programs.” However, if the customers’ co-payment

exceeded the discount price and the customer asked for the discount, then

the transaction was sometimes reprocessed as a cash transaction, though

Safeway’s normal policy was to process prescriptions through government

health program insurance, reporting the usual and customary price when

possible to obtain the higher reimbursement.

      Government health program reimbursement rules and regulations

prohibit pharmacy providers from being reimbursed at amounts greater

than what they otherwise charge members of the general public and

government health program prescription drug reimbursement rules require

that discounts offered to the general public at the point of sale must also be

provided to government health program beneficiaries. The Relator alleges

Safeway defrauded government health programs through a centrally-


                                     19
     3:11-cv-03406-RM-TSH # 71    Page 20 of 51




organized scheme, promoted across multiple states and banners, that was

knowingly and intentionally structured to avoid reporting Safeway’s actual

everyday low discount prices to government health programs as Safeway’s

required usual and customary prices, materially causing government health

programs to overpay claims.

      The Relator further asserts that, through its centralized policies and

its centrally-managed interconnected computer system, Safeway set and

dictated to its subsidiaries the actual low price of discounted drugs that

were offered to the general public as well as the falsely inflated prices that

were reported to government health programs for the same drugs. Safeway

knowingly submitted and caused to be submitted falsely inflated claims for

reimbursement to government health programs for all pharmacies it

controlled through a centrally-managed, interconnected computer claims

processing system.

      Safeway has submitted and caused to be submitted (to the federal and

state governments, government health programs, pharmacy benefit

managers and private prescription drug plans) many thousands of false


                                     20
     3:11-cv-03406-RM-TSH # 71   Page 21 of 51




claims for prescriptions filled for government health program beneficiaries

across the nation, based on the public promotions of its national discount

program, the number of pharmacies it operates, the number of drugs

involved, the number of government health program prescription drug

transactions at each pharmacy and during the relevant time period which

began as early as 2007 and continues to the present.

                          (4) Fair notice of claim

     The Relator alleges that beginning no later than 2007, Safeway was

facing competition for pharmacy customers from traditional grocery

retailers, from non-traditional competitors such as supercenters and club

stores and from specialty supermarkets and drug stores. Safeway and its

competitors engaged in price competition, which adversely affected

Safeway’s operating margins in its markets. Around this time, Wal-Mart,

Kmart and other pharmacies were offering discount drug programs.

Safeway began offering its own discount programs across its banners in the

various states in which it operated, including: price matching; an automatic

$4 generic program; and, a membership club discount program. Due to the


                                    21
     3:11-cv-03406-RM-TSH # 71   Page 22 of 51




magnitude of the project, it was rolled out over time across banners and

states. Safeway characterized its discount drug programs as point of sale

discounts, not insurance. Terms and conditions of the offers were provided

in stores and posted on its various websites.

     The amended complaint states that Safeway first offered, across its

banners in multiple states, to match any competitor’s price for a

prescription drug, most notably those on the Wal-Mart list. In 2008,

Safeway began offering across Western states a free pharmacy “membership

club” program that price matched competitors’ prices. In or around June

2008, Safeway announced, promoted and launched in its East Coast and

Midwest banners an automatic $4 discount drug program modeled after the

Wal-Mart program.       The announcement was publicized in major

newspapers and industry publications. Safeway offered a formulary of

approximately 300 generic drugs priced at $4 for a 30 days’ supply, $8 for

a 60 days’ supply, and $12 for a 90 days’ supply. The formulary discount

list and terms of the discounts offered were published and publicly

available. Safeway continued to offer to price match any competitor’s price


                                    22
     3:11-cv-03406-RM-TSH # 71     Page 23 of 51




for a prescription drug not on its formulary list.          All customers

automatically received the reduced formulary pricing.

     In price match situations, however, Safeway would always honor the

lower price to its customer but would submit its higher usual and customary

price to government health program insurance and collect an inflated claim

from the government health program.

     The amended complaint states that, in or about July 2010, Safeway

discontinued the automatic $4 generic program in the places it operated

and replaced it with Safeway’s membership club program which was also

available to the general public.     To continue receiving the discounts,

customers were required to join the no-cost club. In addition to the price

matching and $4 discounts customers had already been receiving in the

automatic $4 program, club members received the same 10% discounts on

all brand name drugs and the 20% discounts on all non-formulary generic

drugs. Safeway did not offer government health program beneficiaries or

other third party payers the benefit of the discount price unless their co-

payment exceeded the discount price and the customer asked for the lower


                                     23
         3:11-cv-03406-RM-TSH # 71   Page 24 of 51




price.

         The $4 generic program and membership club were part of a centrally

organized scheme that Safeway knowingly and intentionally structured to

avoid offering and reporting its actual everyday low discount prices to

government health programs, materially causing government health

programs to overpay claims. Almost all of the Defendant’s pharmacies

nationwide operated under the membership program where cash customers

were offered discount prices but government health program beneficiaries

were offered inflated prices, unless their co-payment exceeded the discount

price and the customer asked for the lower price. Through its computer

systems, Safeway submitted the same fraudulent usual and customary price

information to all government health programs, including Medicare,

TRICARE, FEHBP and State Medicaid programs, as part of a corporate-

wide scheme to defraud government health programs. The “standard” price

Safeway submitted nationwide to government health programs for drugs,

otherwise offered to cash customers at $4, was $11.99.

         The Relator alleges the Defendant’s executives understood that the


                                       24
     3:11-cv-03406-RM-TSH # 71   Page 25 of 51




sole purpose of the membership club program was to manipulate the usual

and customary price in order to overcharge third party insurance, including

government health programs. In price match situations, Safeway would

honor the lower price to its customer but would bill its higher usual and

customary price to government health program insurance and collect an

inflated claim from the government health program.

     In an effort to avoid offering and reporting its everyday low discount

prices to government health programs, Safeway discontinued its automatic

$4 discount plan in favor of a membership club program.         For those

pharmacies operating under the membership club program, Safeway did not

offer customers with government health program insurance the $4 price or

the program’s other offered discounts (price matching or 10% off brand and

20% off non-formulary generics) unless their co-payment exceeded the

discount price and the customer asked for the lower price. Safeway did not

truthfully report the discount prices as its usual and customary prices. As

a result, claims were paid by insurance, including government health

programs, at inflated prices.


                                    25
     3:11-cv-03406-RM-TSH # 71    Page 26 of 51




     The amended complaint includes allegations which meet the standard

of Rule 9(b). The Relator has identified the who: Safeway and its affiliated

banners. The amended complaint clearly describes the nature of the alleged

fraud: the overcharging of government health plans by Safeway and its

subsidiaries by engaging in a centrally controlled scheme to charge

government health plans more than the general public for the same drugs,

in order to receive a higher reimbursement than it was legally and

contractually entitled to receive. The alleged fraud occurred from at least

2007 to the present. The Relator alleges it took place nationwide and cites

examples from Safeway or Safeway affiliates in Grapevine, Texas, Colorado

Springs, Colorado and Fountain, Colorado.         The amended complaint

describes in detail how Safeway is alleged to have carried out the fraud

scheme.

     For all of these reasons, the Court concludes that the Relator has

provided fair notice to Safeway of the circumstances it alleges to be fraud.

             (5) Specificity and viability of fraud allegations

     The Defendant further asserts that the descriptions of the 18 claims


                                    26
     3:11-cv-03406-RM-TSH # 71    Page 27 of 51




for drugs dispensed in Colorado–as alleged in paragraphs 186 through

188–would not be sufficient to state a viable federal FCA claim because: (1)

as to the Medicare Part D claims, they were reimbursed according to

contract, and the Relator does not point to any contractual term Safeway

violated; (2) as to State Medicaid claims, the Relator’s claims do not

demonstrate that Safeway failed to comport with the Colorado statute

governing price reporting or any relevant Medicaid reimbursement formula;

and (3) as to FEHBP and TRICARE, the Relator lacks the requisite claims

detail. As for Counts II-XII alleging violations of state law False Claims Act

statutes, Safeway contends those counts must be dismissed for failure to

provide any factual detail and failure to comport with state statutory

requirements.

      Medicare Part D is a government program that provides public

benefits through private prescription drug plans. Regardless of whether the

claims were reimbursed according to contract or whether any contract term

or state law was violated, “[t]he [usual and customary price] term is

included in state regulations, plans, and contracts related to Medicare Part


                                     27
     3:11-cv-03406-RM-TSH # 71   Page 28 of 51




D because the Medicare and Medicaid regulations demand that it be.” See

U.S. ex rel. Garbe v. Kmart Corp., 824 F.3d 632, 644 (7th Cir. 2016).

     The Relator details 13 transactions which purportedly were

fraudulently submitted to Medicare Part D. Safeway alleges, however, that

he fails to identify any operative Part D contract or describe with detail

how Safeway purportedly violated any contractual obligations such that it

caused false and fraudulent claims to be submitted to the relevant

pharmacy benefits manager. Reimbursement for such claims are made

pursuant to contractual terms.

     Safeway asserts the Relator does not explain the basis upon which he

concludes that: (1) the usual and customary price provided was false

according to the contractual definition of usual and customary; (2) the

usual and customary price was material to the pharmacy benefits manager’s

contractual reimbursement formula; or (3) the pharmacy benefits manager

or Part D plan were defrauded. Safeway contends these failures render the

allegations of the amended complaint insufficient. Although all are contract

dependent, no contracts are provided.


                                    28
     3:11-cv-03406-RM-TSH # 71       Page 29 of 51




     In   a   recent   case,   the     United    States   Court   of   Appeals

considered–among other issues–whether the district court had correctly

identified the “usual and customary” price for purposes of the FCA. See

Garbe, 824 F.3d at 637. The Seventh Circuit observed:

     Our reading of “general public” is consistent with the regulatory
     structure that gave rise to the “usual and customary” price term.
     Under 42 C.F.R. § 423.100, the usual and customary (U & C)
     price means the price that an out-of-network pharmacy or a
     physician’s office charges a customer who does not have any
     form of prescription drug coverage for a covered Part D drug.
     The term is included in state regulations, plans, and contracts
     related to Medicare Part D because the Medicare and Medicaid
     regulations demand that it be. Id. § 447.512(b). Its meaning in
     many state regulations, plans, and contracts is lifted from the
     federal regulations without significant modification.

Id. at 644 (internal quotation marks and citation omitted). The court

interpreted the applicable regulations to mean that state agencies are not

to pay more for prescribed drugs than the prevailing market retail price.

See id. Accordingly, “[r]egulations related to ‘usual and customary’ price

should be read to ensure that where the pharmacy regularly offers a price

to its cash purchasers of a particular drug, Medicare Part D receives the

benefit of that deal.” Id. Safeway may not charge state agencies more than


                                       29
     3:11-cv-03406-RM-TSH # 71    Page 30 of 51




they charge the general public.

      The court further stated:

      Allowing Kmart to insulate high “usual and customary” prices
      by artificially dividing its customer base would undermine a
      central purpose of the statutory and regulatory structure. The
      “usual and customary” price requirement should not be
      frustrated by so flimsy a device as Kmart’s “discount programs.”
      Because Kmart offered the terms of its “discount programs” to
      the general public and made them the lowest prices for which
      its drugs were widely and consistently available, the Kmart
      “discount” prices at issue represented the “usual and
      customary” charges for the drugs.

Id. at 645. Accordingly, the court determined that the relator’s claims were

sufficient to withstand summary judgment. See id. If Medicare Part D did

not receive the benefit of such a deal in this case, then the Relator’s claims

are sufficient to withstand Safeway’s motion to dismiss.

      As for the State Medicaid claims, Safeway contends the Relator’s

allegations are insufficient to assert an FCA claim because they do not

demonstrate that Safeway failed to comport with the Colorado statute

governing price reporting or any relevant Medicare reimbursement formula.

Safeway asserts that contrary to the allegations in the amended complaint,

Medicaid does not restrict prices to the usual and customary price for

                                     30
     3:11-cv-03406-RM-TSH # 71     Page 31 of 51




generic drugs. Under the reasoning of Garbe, however, the usual and

customary price imposes a cap on the reimbursement Safeway is entitled to

when it sells drugs to government health program beneficiaries.           The

program funds must be expended in the most “economical manner

feasible.” See id. at 644. Thus, Medicaid restricts reimbursement for drug

sales to Safeway’s discount club prices. The usual and customary price for

generic drugs is the limit. Based on the allegation that Safeway received

more than the usual and customary price, the Court concludes at this stage

that the Relator has alleged a viable claim.

      To the extent that Defendant alleges the Relator’s allegations are not

sufficiently specific, the Relator contends that Rule 9(b) does not demand

specificity for every instance of fraud. The Relator alleges with particularity

Safeway’s and its affiliates’ nationwide fraudulent scheme. It further alleges

claims for payment on an individualized transaction level and provides

specific examples of the Defendant’s fraudulent conduct. The Relator need

not plead redundant examples for every State or Federal program that

Safeway defrauded. The Relator simply needs “some firsthand information


                                      31
     3:11-cv-03406-RM-TSH # 71    Page 32 of 51




to corroborate [his] suspicions.”    Pirelli Armstrong Tire Corp. Retiree

Medical Benefits Trust v. Walgreen Co., 631 F.3d 436, 446 (7th Cir. 2011)

(observing that Pirelli did not necessarily need Illinois data to sufficiently

allege the existence of a fraudulent scheme).

      The Relator cites examples alleging that Defendant was reporting

falsely high pricing information to government health programs that

excluded low cash prices. This corroborates allegations that Defendant was

committing usual and customary price fraud against multiple government

health programs in the same manner and across state lines. In its motion to

dismiss, moreover, Safeway does not dispute that it did not pass price

match discounts to cash customers on to government health programs. The

Defendant simply alleges this practice was legal. Regardless of whether that

was once a permitted practice, it is no longer legal under Garbe.

      Safeway notes that Garbe does not directly address this factual

scenario and it should not be interpreted broadly. In certain settings,

moreover, a state has some flexibility in determining reimbursement. See

Garbe, 824 F.3d at 643 (noting the definition of “usual and customary”


                                     32
     3:11-cv-03406-RM-TSH # 71   Page 33 of 51




price that applies “[u]nless state regulations provide otherwise”). At this

stage, however, the Court concludes that the Relator’s allegations are

sufficient to assert a claim under Garbe.

     The Relator claims that the fraud scheme asserted here has occurred

throughout the country and with every government health program. The

amended complaint includes specific, representative examples of the scheme

which has put the Defendant on notice of the allegations. The Court

concludes that the Relator’s allegations are sufficiently specific to comply

with the requirements of Rule 9(b).

             (6) Transactions and internal communications

     Paragraph 186 references thirteen Medicare Part D transactions which

took place at Tom Thumb Pharmacy in Grapevine, Texas or Safeway

Pharmacy in Colorado Springs, Colorado. Paragraph 187 references five

specific TRICARE transactions that took place at Tom Thumb Pharmacy

in Grapevine, Texas; Safeway Pharmacy in Colorado Springs, Colorado or

Safeway Pharmacy in Fountain, Colorado. Paragraph 188 references 20

Medicaid transactions that took place at Tom Thumb Pharmacy in


                                    33
      3:11-cv-03406-RM-TSH # 71     Page 34 of 51




Grapevine, Texas1 or Safeway Pharmacy in Colorado Springs, Colorado.

      Each transaction referenced in paragraphs 186, 187 and 188 lists drug

name, quantity dispensed, date and amounts paid by patient and

government health plan reimbursement. The patients are identified by alias

initials. The reported usual and customary price is an “inflated” negotiated

price that the Defendant reported to government health programs. The

actual usual and customary price listed is the true cash price offered to the

general public. “GHP Allowable” represents what the government health

program should have paid, after applying the patient co-pay to the actual

usual and customary price.        The “Overpayment” is listed as to each

transaction, which refers to the amount overpaid by the government health

program due to the “manipulation” of the usual and customary price.


      1
        The Plaintiffs state they do not seek to enforce and recover on claims for
alleged unlawful actions committed by the Defendants against the Texas
Medicaid program. They include these allegations regarding the submission of
fraudulent, inflated usual and customary prices to Texas Medicaid for
illustrative purposes in order to show that Safeway’s fraudulent conduct was
pervasive across all government health plans and that it knowingly submitted
false claims to Texas Medicaid as part of a larger, carefully designed and
orchestrated corporate-wide policy to defraud government health programs
generally and it did not engage in this practice through accident or through
inadvertence.

                                       34
     3:11-cv-03406-RM-TSH # 71   Page 35 of 51




     Safeway argues that allegations of a fraudulent scheme are insufficient

and the Relator must allege facts on an individualized level. The Relator

has alleged no less than 31 individualized pharmacy transactions as

representative examples of the false claims. Moreover, the Relator alleges

Safeway has employed a nationwide fraudulent scheme which includes

transactions over a five-year period. In paragraphs 186-188 of the amended

complaint, the Relator cites examples of Safeway’s alleged false claims and

fraudulent conduct.

     Significantly, Safeway’s own internal documents and communications

reveal that Safeway corporate officials engineered the centrally controlled

scheme which resulted in the submission of false claims. The Relator

alleges that, in 2009 Jose Alcaine, Safeway Corporate Pharmacy Category

Manager, in Pleasanton, California, proposed an extension of the

membership program fraud scheme to Michael Topf, Safeway’s Director of

Finance Pharmacy, Main Meals & Ingredients, and Jesse Talamantez,

Director–Pharmacy Supply Chain & Category Management, Safeway

Corporate Operations, as follows:


                                    35
     3:11-cv-03406-RM-TSH # 71   Page 36 of 51




     Hypothetical: We pull the $4 programs in Texas, Eastern,
     Genuardi’s and Dominick’s and offer the same program;
     however, as a membership (FREE but customers need to sign
     up) program:
          1.    What is the current cost of the $4 program in the
                divisions mentioned above?
          2.    What is the potential savings if we make this a
                membership program? Thereby not affecting our
                insurance reimbursements.

Mr. Alcaine performed the calculations with Safeway’s Finance Department

and reported back to Mr. Topf and Mr. Talamantez that by transitioning

to membership for just the named divisions, Safeway would realize $8

million in savings per year.

     The amended complaint states that Mr. Alcaine and Mr. Talamantez

worked out the details of the scheme and reported back to Mr. Topf,

explaining among other things that membership club “Discounts and

Incentives are not available to patients whose prescriptions are paid in

whole or part by Medicare, Medicaid or other federal health care

programs.” The Relator alleges that the communications of Safeway’s

upper corporate management show those officials clearly understood the

intent and purpose of the transition to the membership program was to


                                   36
     3:11-cv-03406-RM-TSH # 71     Page 37 of 51




overcharge government health programs.

      In an email exchange between Mr. Topf and Brian Baer, Safeway’s

Chief Financial Officer (“CFO”), Mr. Topf explained the program details as

follows:

      [A]bout 40% of customers have copays under $4 to begin with
      so the hope is that these people definitely won’t take us up on
      the $4 offer. Another 20% should have $5 copays so a large
      portion of them will essentially be indifferent.

Mr. Baer responded to the email as follows: “I am still a bit hazy on a few

pts–as is Jeff . . . . look forward to discussing with you more . . . . it seems

like to me this whole thing revolves @ the insurance angle – to get the $10

per item from them vs the $4 cash price . . . . am I off?” The Relator alleges

Mr. Baer understood perfectly “this whole thing” was a scheme intended to

overcharge customers’ insurance, including government health programs.

Mr. Topf directed Mr. Talamantez to brief Mr. Baer on the details of the

program.

      The amended complaint states that Mr. Alcaine, Mr. Talamantez and

their corporate staff directed and supervised the transition from the

automatic $4 program to the membership program with division heads.

                                      37
     3:11-cv-03406-RM-TSH # 71    Page 38 of 51




Once the transition was complete, virtually all of Safeway’s pharmacies

nationwide operated under the fraudulent membership program. As part

of the implementation of the membership program, Mr. Alcaine directed

that Defendant’s corporate claims adjudication software be reprogrammed

with new higher usual and customary pricing for all pharmacies,

transitioning from the $4 program to the membership program so

government health programs and other insurance would not receive the

discounted prices. Mr. Topf was informed of this.

     The Relator alleges that Safeway’s corporate officials understood that

the purpose of the transition to the membership program from the

automatic $4 program was to manipulate usual and customary prices in

order to overcharge third party insurance, including government health

programs. Safeway’s membership club program was deliberately structured

to ensure that government health program beneficiaries would always pay

the discount price or less if they “elect” for the lower price but the

government, as third-party payor of the majority of the cost, would never

receive the benefit of the discounts.


                                    38
      3:11-cv-03406-RM-TSH # 71    Page 39 of 51




      In a 2008 email from Mr. Talamantez to Safeway’s western state

divisions explaining the membership scheme, he noted that:

      Q. What if a customer is on an insurance plan?
      A. Based on the customer’s current insurance co-pay for
      generics, a customer may elect to enroll in our membership
      program to get the better pricing. Once enrolled, if you are
      matching a generic price from a competitor, Complete the
      information in PDX, Override the price to match competitor,
      and Submit transaction online using our membership program
      and not primary insurance.

Steve Scalzo, Director of Pharmacy Operations at Dominick’s Pharmacy

(Illinois),   understood   that   although   government     health   program

beneficiaries would always pay the discount price or less if they “opt” to pay

the lower price, the government would never receive the benefit of the

discounts: “Patients may opt to not have their insurance billed if $4 is less

than their copay.” Julie Spier, Director of Pharmacy Operations Texas, also

understood that government health program beneficiaries would always pay

the discount price or less but the government would never receive the

benefit of the discounts: “[T]he pharmacy will need to process first on the

patients regular insurance to see what their copay is and if it is more than

the $4 generic – the pharmacy will need to reverse the claim and then move

                                     39
     3:11-cv-03406-RM-TSH # 71   Page 40 of 51




it over to the membership.”

     Safeway’s internal communications show that its directors understood

the alleged scheme as a means to manipulate the usual and customary price

and charge government health programs more than the general public, in

violation of the FCA.

              (7) Original source and public disclosure bar

     The Defendant alleges that the allegations of the Relator, Thomas

Proctor, are substantially similar to a previously filed qui tam complaint

that was reported in the news media before the amended complaint was

filed and, therefore, the amended complaint must be dismissed on the

grounds of the public disclosure bar and the original source requirement.

     Safeway states that Tiffany Huckels, a former pharmacist at its

pharmacies in Colorado, filed a qui tam complaint against Safeway in

Colorado state court on August 5, 2014. On or about March 13, 2016,

after the complaint was unsealed and the case was removed to federal court,

the legal news website Law360 (www.law360.com) reported and linked to

the action. The amended complaint in this case was filed on March 31,


                                    40
     3:11-cv-03406-RM-TSH # 71    Page 41 of 51




2016.

      The FCA directs courts “to dismiss an action or claim . . . if

substantially the same allegations or transactions as alleged in the action or

claim were publicly disclosed,” as relevant here, by “the news media, unless

the action is brought by the Attorney General or the person bringing the

action is an original source of the information.” 31 U.S.C. § 3730(e)(4)(A).

The public disclosure “bar is designed to deter parasitic qui tam actions.”

See Glaser v. Wound Care Consultants, Inc., 570 F.3d 907, 913 (7th

Cir. 2009). Safeway contends that Law360 constitutes news media and

because it publicly disclosed the Colorado qui tam action, the only issue is

whether the Relator’s factual allegations or transactions are substantially

similar to those advanced by Huckels and, if so, whether he is otherwise an

original source.

      To determine whether the public disclosure bar applies, courts employ

a three-step analysis. See United States ex rel. v. Wisconsin Bell, Inc., 760

F.3d 688, 690 (7th Cir. 2014). The Court first “examines whether the

relator’s allegations have been publicly disclosed.” Id. (internal quotation


                                     41
      3:11-cv-03406-RM-TSH # 71     Page 42 of 51




marks omitted). “If so, it next asks whether the lawsuit is based upon those

publicly disclosed allegations. If it is, the court determines whether the

relator is an original source of the information upon which his lawsuit is

based.” Id.

      Safeway asserts the allegations in the amended complaint are

substantially similar to public disclosures in the Colorado case in that both

are against the same party and allege the same FCA violation–that Safeway

failed to give government health programs the benefit of certain discounts

and submitted allegedly fraudulent, inflated pricing information in its

prescription drug claims. Moreover, both actions describe the same means,

cover the same general time frame and allege Safeway defrauded virtually

the same government health programs. Safeway further contends that the

claims level detail is also substantially similar, given that both relators allege

Safeway submitted a $37.17 usual and customary price to Medicare Part

D for a 90-day count of L-thyroxine on May 3, 2014, even though

Safeway’s normal, low case price for the same drug was $10.00 for a 90-day

supply. For these reasons, Safeway asserts the first amended complaint is


                                       42
     3:11-cv-03406-RM-TSH # 71     Page 43 of 51




“substantially similar” to the Colorado qui tam action.

      The Relator’s amended complaint does include more detail than the

original complaint–the latter is 68 pages while the former is just 29 pages.

However, the Relator in the original complaint filed in November 2011 did

allege that Safeway had engaged in a nationwide scheme to falsely inflate

usual and customary prices reported to government health programs by

excluding everyday low prices from its usual and customary price

calculations. The original complaint contained allegations that Safeway

violated the Colorado False Claims Act in that manner.

      The public disclosure “bar applies only when information exposing the

fraud has already entered the public domain prior to the relator’s suit.” See

U.S. ex rel. Beauchamp v. Academi Training Center, 816 F.3d 37, 43 (4th

Cir. 2016). It was the Relator’s original complaint that first alleged–at least

on a general basis–the relevant fraud claim. See id. at 45 (noting that the

district court erred because it “failed to evaluate the relevant fraud claim,”

which was “the first amended complaint;” the “second-amended complaint

merely added further detail about a claim already alleged.”). “Where the


                                      43
      3:11-cv-03406-RM-TSH # 71    Page 44 of 51




relevant fraud is first alleged before the public disclosure, as occurred here,

the suit is plainly not ‘parasitic.’” Id. at 45-46 (citing Graham Cty. Soil &

Water Conservation Dist. v. U.S. ex rel. Wilson, 559 U.S. 280, 296 n.16

(2010)).

      The Relator here made allegations of a general fraud scheme in

November 2011. That was almost three years before Huckels asserted that

Safeway engaged in a scheme in Colorado to falsely inflate usual and

customary prices reported to government health programs by excluding

everyday low cash prices from its usual and customary price calculations.

Obviously, some of the Relator’s allegations in this case–such as the 2014

claim submitted to Medicare Part D for L-thyroxine– could not have been

included in the 2011 complaint.

      Although Huckels’ complaint may include more specificity, it does

not constitute a prior public disclosure. The Relator in this case was first

to allege the relevant fraud claim. Accordingly, the Court concludes that

the public disclosure bar does not preclude the Relator from proceeding in

this case.


                                      44
     3:11-cv-03406-RM-TSH # 71     Page 45 of 51




      The Defendant also contends that Relator Proctor does not qualify as

an original source for the allegations in the amended complaint. The FCA

defines “original source” as an individual who either:

      (i) prior to a public disclosure . . . has voluntarily disclosed to
      the Government the information on which allegations or
      transactions in a claim are based, or
      (ii) who has knowledge that is independent of and materially
      adds to the publicly disclosed allegations or transactions, and
      who has voluntarily provided the information to the
      Government before filing an action.

31 U.S.C. § 3730(e)(4)(B). Safeway alleges the Relator did not provide

sufficient details to qualify as an original source.

      In order to be an original source, “[a] relator need not have seen the

claims submitted to the federal government . . . but must know enough to

make fraud a likely explanation for any overbilling . . . and under §

3730(e)(4)(B) must furnish that information to the United States, not just

assert that there is a basis to be revealed eventually.” U.S. ex rel. Baltazar

v. Warden, 635 F.3d 866, 870 (7th Cir. 2011).

      In the original complaint, the Relator alleged that Safeway “knowingly

presented or caused to be presented false or fraudulent claims for payment


                                      45
     3:11-cv-03406-RM-TSH # 71    Page 46 of 51




to the United States” through a nationwide scheme to falsely inflate its

reported usual and customary prices. The Relator’s claim was supported by

“information on which his allegations were based,” including specific details

of the alleged fraud, internal communications from Safeway officials and

specific false claims showing the scheme was being carried out. In both

complaints, the Relator alleges he is an original source of the information.

The Relator alleges that he voluntarily disclosed this information to the

Government prior to filing the action.

     Upon accepting the truth of the allegations of the amended

complaint, the Court concludes that the Relator qualifies as an original

source.

     The Court further finds that the Relator would qualify as an

independent source because he has knowledge that is “independent of”

Huckels’ alleged “publicly disclosed allegations.” Safeway acknowledges

that 17 of the 18 Colorado pharmacy transactions alleged in Relator

Proctor’s amended complaint were not disclosed in Huckels’ filings.

     There is also a basis for concluding that information in Proctor’s


                                     46
     3:11-cv-03406-RM-TSH # 71     Page 47 of 51




amended complaint “materially adds to” the alleged publicly disclosed

transactions. This information includes information the Relator claims to

have learned while working at Safeway’s Tom Thumb pharmacy in 2011

and as corroborated by internal communications from Safeway executives

discussing the usual and customary price fraud scheme at Safeway and its

subsidiaries.

      Based on the allegations contained in the complaints, the Court

concludes there has been no prior public disclosure and Relator Proctor is

the original source of his allegations.

                           (8) Remaining claims

      Additionally, Safeway claims the allegations as to FEHBP and

TRICARE do not assert viable claims because they lack sufficient detail.

However, the Relator makes the same type of allegations with respect to

FEHBP and TRICARE claims. Paragraphs 54 to 59 and 61 to 64 address

how TRICARE and FEHBP establish usual and customary pricing

requirements. Because these pricing terms are alleged to exceed Safeway’s

usual and customary charges to the general public, the Court concludes that


                                     47
     3:11-cv-03406-RM-TSH # 71     Page 48 of 51




the Relator has alleged plausible claims based on Garbe.

      Safeway further asserts the state law claims which are based on state

FCA statutes fail for lack of detail and because they do not comply with

statutory requirements. As the Relator asserts, however, a claimant need

not plead redundant examples for every state or federal program it is alleged

to have defrauded. The Relator simply needs “some firsthand information”

in those circumstances. See Pirelli, 631 F.3d at 446 (noting that plaintiff

did not necessarily need Illinois data to establish the existence of a

fraudulent scheme in Illinois). This is particularly true when, as here, the

nature of the fraud scheme alleged here is the same in every state and with

every government health program. The representative examples contained

in the amended complaint support the Relator’s assertion that government

health programs were charged significantly higher prices for prescription

drugs than were its cash customers. The Court concludes that this is

sufficient to allege claims for each of the Plaintiff states.

      Safeway also alleges that the California, Delaware, District of

Columbia, Illinois, New Mexico, Nevada and Virginia claims should be


                                      48
     3:11-cv-03406-RM-TSH # 71    Page 49 of 51




dismissed because the False Claims Act in each of those States authorize a

relator to bring qui tam claims only in the State’s own courts or in federal

court in that State.

     As the Relator asserts, however, this Court has supplemental

jurisdiction under 28 U.S.C. § 1367(a) because the state law claims are

related to the federal FCA. The FCA also has a provision authorizing

supplemental jurisdiction of related state law claims: “The district courts

shall have jurisdiction over any action brought under the laws of any State

for the recovery of funds paid by a State or local government if the action

arises from the same transaction or occurrence as an action brought under

section 3730.” 31 U.S.C. § 3732(b). Accordingly, the Court concludes it

has jurisdiction over the subject matter.

     Additionally, the Relator alleges in paragraph 34 of the amended

complaint that, prior to the filing of this action, he served a copy of the

complaint and a written disclosure of substantially all material evidence and

information he possessed on the United States and on the Plaintiff States.

Therefore, the Court rejects Safeway’s argument that he failed to comply


                                     49
     3:11-cv-03406-RM-TSH # 71   Page 50 of 51




with these provisions as to the New Mexico and Virginia statutes and the

motion to dismiss Counts X and XII are denied.

                           III. CONCLUSION

     Based on the foregoing, the Court concludes at this stage that the

Relator’s allegations are sufficient under Rule 9(b) to assert claims under

the FCA and the applicable state laws. The Court further finds that the

information was not illegally obtained in light of HIPAA. Accordingly, the

motion to dismiss and motion to strike will be denied.

     Ergo, the Motion of Defendant Safeway, Inc. to Dismiss the Relator

and Plaintiffs’ Amended Complaint [d/e 53] is DENIED.

     The Defendant’s Motion to Strike certain information [d/e 53] is also

DENIED.

     This action is referred to United States Magistrate Judge Tom

Schanzle-Haskins for further proceedings related to discovery and entry of

a scheduling order.

ENTER: November 30, 2016

                 FOR THE COURT:


                                    50
3:11-cv-03406-RM-TSH # 71   Page 51 of 51




                                            /s/ Richard Mills
                                            Richard Mills
                                            United States District Judge




                              51
